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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


    ALAN RACKEMANN,                                    )
                                                       )
                                Plaintiff,             )
                                                       )
                         vs.                           )      No. 1:17-cv-00624-TWP-MJD
                                                       )
    LISNR, INC.,                                       )
    ADEPT MOBILE, LLC,                                 )
    INDIANAPOLIS COLTS, INC.,                          )
                                                       )
                                Defendants.            )


                        MINUTE ENTRY FOR OCTOBER 10, 2017
                               STATUS CONFERENCE
                     HON. MARK J. DINSMORE, MAGISTRATE JUDGE


         The parties appeared by telephone for a Status Conference. The parties discussed the

  status of and future plans for discovery. With the agreement of the parties, the Court hereby

  amends the approved Case Management Plan as amended [Dkts. 94 & 127] as follows:

         III. PRETRIAL PLEADINGS AND DISCLOSURES

         G. If a party intends to use expert testimony in connection with Plaintiff’s anticipated
         motion for class certification, such expert disclosures must be served on opposing
         counsel no later than November 13, 2017. If such expert disclosures are served the
         parties shall confer within 7 days to stipulate to a date for responsive disclosures (if any)
         and completion of expert discovery necessary for efficient resolution of the anticipated
         motion for class certification. The parties shall make good faith efforts to avoid
         requesting enlargements of the dispositive motions deadline and related briefing
         deadlines. Any proposed modifications of the CMP deadlines or briefing schedule must
         be approved by the court.

         IV. DISCOVERY AND DISPOSITIVEMOTIONS

         C. Any discovery relating to class certification issues shall be completed by December
         13, 2017. Plaintiff’s motion for class certification shall be filed by January 8, 2018;
         Defendants shall file any response to the class certification motion on or before
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         February 5, 2018, and Plaintiff shall file any reply in support of the motion on or before
         February 26, 2018.

  All other requirements of the approved Case Management Plan as amended [Dkts. 94 & 127]

  remain in effect.

         Also with the agreement of the parties, the time for Defendants to respond to the

  Complaint is enlarged to and including October 23, 2017. In addition, the time for Defendant

  Adept Mobile, LLC to respond to Plaintiff’s interrogatories is also enlarged to and including

  October 23, 2017.

         SO ORDERED.



         Dated: 16 OCT 2017




  Distribution:

  Service will be made electronically
  on all ECF-registered counsel of record via
  email generated by the court’s ECF system.
